Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 1 of 10




          EXHIBIT A
       Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 2 of 10
                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                 09/20/2022
                                                                                                    CT Log Number 542345005


Service of Process Transmittal Summary

TO:       RENEE SIMONTON
          RELX INC.
          1105 N MARKET ST STE 501
          WILMINGTON, DE 19801-1253

RE:       Process Served in New Hampshire

FOR:      LexisNexis Risk Solutions Inc. (Domestic State: GA)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Hans Hug, JR vs. LexisNexis Risk Solutions Inc

CASE #:                                 4352022SC00325

PROCESS SERVED ON:                      C T Corporation System, Concord, NH

DATE/METHOD OF SERVICE:                 By Non-Traceable Mail on 09/20/2022

JURISDICTION SERVED:                    New Hampshire

ACTION ITEMS:                           CT has retained the current log, Retain Date: 09/20/2022, Expected Purge Date:
                                        09/25/2022

                                        Image SOP

                                        Email Notification, RENEE SIMONTON renee.simonton@relx.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        2 1/2 Beacon Street
                                        Concord, NH 03301
                                        800-448-5350
                                        MajorAccountTeam1@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1
                         Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 3 of 10
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NH CIRCUIT COURT                                                                              i- =d01.4=1/.A=mair
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Electronic Filing Center
1 Granite Place, Suite N400
                                                                                          ZIP 03301
                                                                                          02 4YY    $000 810
Concord, NH 03301                                                                         0000379822 SEP 19 2022




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                                   -               -••••••C`
                   Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 4 of 10

                                 THE STATE OF NEW HAMPSHIRE
                                               JUDICIAL BRANCH
                                               NH CIRCUIT COURT
10th Circuit - District Division - Brentwood                                    Telephone: 1-855-212-1234
PO Box 1149                                                                  TTYfTDD Relay:(800)735-2964
Kingston NH 03848-1149                                                            https://www.courts.nh.gov
                                                September 19, 2022

           CT CORPORATION
           2 1/2 BEACON STREET
           CONCORD NH 03301




Case Name:            Hans Hug, JR v. LexisNexis Risk Solutions Inc.
Case Number:          435-2022-SC-00325




September 19, 2022                                         LoriAnne Hensel
Date                                                       Clerk of Court


(1251001)
C: CT Corporation




NHJB-2012-DFPSe(05/23/2017)
                 Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 5 of 10



                                 THE STATE OF NEW HAMPSHIRE
                                                 JUDICIAL BRANCH
                                                 NH CIRCUIT COURT
10th Circuit - District Division - Brentwood                                       Telephone: 1-855-212-1234
PO Box 1149                                                                     TTY/TDD Relay:(800) 735-2964
Kingston NH 03848-1149                                                               https://www.courts.n h.gov
                                               NOTICE TO DEFENDANT
Case Name:            Hans Hug, JR v. LexisNexis Risk Solutions Inc.
Case Number:          435-2022-SC-00325
You have been sent a Small Claim Complaint which serves as notice that this legal action has been filed
against you in the Circuit Court. Review the Small Claim Complaint to see the basis for the plaintiff's
claim.
Each Defendant is required to file a Response with the court on or before the Return Date noted on the
bottom of the Complaint. You must file your Response electronically. You may register and respond on
any private or public computer. For your convenience, there is also a computer available in the
courthouse lobby.
If you are working with an attorney, s/he will guide you on the next steps. If you are going to represent
yourself in this action, go to the court's website: www.courts.nh.gov, select the e-File icon and then, under
Circuit Court — Self-Represented Parties and other Non-Attorney Filers, select E-File/Resource/Case
Access Information Here.
         1. Click E-File Here (File Into Your Case)to enter the e-filing application.
        2. If it is your first time filing, click Sign up and follow the prompts. Otherwise, enter your
            username and password and click Log In.
        3. Select "Small Claim", and "File into an Existing Case".
        4. Select your Circuit and Court location from the dropdown lists and click next.
        5. Enter court case number 435-2022-SC-00325 and click Next.
        6. When you find your case, click on the link and follow the instructions on the screens. On the
            "What Would You Like to File?" screen, select "Response to Small Claim". Follow the
            instructions to complete your filing. Within your Response, you may request a hearing; agree
            that you owe the plaintiff; request a jury trial; file a counterclaim; or indicate that you have
            recently filed bankruptcy.
        7. Review your Response before submitting it to the court. Be sure to click Submit.
NOTE: If you request a jury trial, or file a counterclaim the filing fee must be paid by the return date.
IMPORTANT: After receiving your response, the court will send notifications and court orders
electronically to the email address you provide. Check your email frequently during your case.
If you wish, you may choose to pay the plaintiff (or plaintiff's attorney, if any) prior to the Return Date.
However, you should be aware that the proceedings will continue unless the court receives a notice from
the plaintiff that payment has been received.
Failure to register and file a Response on or before the Return Date will result in a Default
Judgment being entered against you. The Default Judgment may include attorney's fees and
other costs in addition to the original claim amount.
The small claims process is governed by RSA Chapter 503. In addition, a person who is filing or
defending against a small claim will want to be familiar with the Rules of the District Division. While there
is a section within the District Division Rules that specifically deal with Small Claims, there are others
which will be relevant to the small claims process. This information is also available on the court's
website: www.courts.nh.qoy
 If you have questions regarding this process, please contact the court at 1-855-212-1234.
C: LexisNexis Risk Solutions Inc.
NHJB-2892-DPe (05/01/2019)
                                                       Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 6 of 10                                                                Filed
                                                                                                                                                             File Date: 8/18/2022 6:17 PM
                                   For e-Filing only                                                                                         10th Circuit - District Division - Brentwood
                                                                                                                                                                        E-Filed Document
                                                                         THE STATE OF NEW HAMPSHIRE
                                                                                          JUDICIAL BRANCH
                                                                                        hftp://www.courts.state.nh.us

                                   Court Name:               10th Circuit - District Division - Brentwood

                                   Case Name:                Hans Hug, Jr v. LexisNexis Risk Solutions Inc.
                                                                                     435-2022-SC-00325
                                   Case Number:
                                    Of known)

                                                                                  SMALL CLAIM COMPLAINT
                                   Plaintiff name:      Hans Hug, Jr

                                   Residence address:                                                          Mailing address: (if different):
                                   Street:   9 Myrtle Street                                                   Street:    Po Box 580



                                   City:   Exeter                                                              City:   Exeter

                                   State:    NH                      Zip code:     03833                       State:    NH                  Zip code: 03833
                                   Telephone:       (cell)     (617)513-2778                                   E-mail:    hhug@apache1 net

                                                    (home) (603)778-8939

                                   Date of birth: Provide on Confidential Information Sheet                            Check here if there are multiple Plaintiffs
                                   If filing on behalf of another individual or a business please see below, otherwise continue to Defendant
                                   Information.
                                   El District Division Rule 1.3D Statement Attached (This is required      when filing on behalf of an
                                   individual or business in addition to the applicable authorization below.)
                                   Type of Business/ 3rd Party: (If applicable)
                                   Ei Corporation                                                              El Trust
                                   E] Limited Liability Company                                                El Partnership
                                        Sole Proprietorship                                                    1111 Other
                                   Type of Authorization if filing on behalf of individual or business:
                                    Ei Power of Attorney                                         Authorization signed by General Partner
                                   El Corporate Resolution (corporation)                                      El Authorization signed by Trustee
                                   El Authorization signed by Member with Management Authority                                  El Other
                                   Defendant name            LexisNexis Risk Solutions Inc.

                                   Residence address:                                                          Mailing address: (if different):
                                   Street: 1000 Alderman Drive                                                 Street: 1105 N. Market Street S501
TurboCourt.com Form Set #7113999




                                   City: Alpharettta                                                           City: Wilmington
                                   State: GA                         Zip code: 30005                           State: DE
                                                                                                                     Zip code: 19801
                                   Telephone: (888)497-0011                                  El Check here if there are multiple Defendants
                                   11 1 Military Statement Attached (The court cannot issue a default judgment in the event of a default
                                   on the part of an individual defendant until the Military Statement has been filed.)

                                   NHJB-2370-De (06/04/2018)                                          Page 1 of 2
                                                          Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 7 of 10
                                        Case Name: Hans 1-4.151/2&2(ttsbftolutions Inc.
                                        Case Number:
1
                                        SMALL CLAIM COMPLAINT

                                        Type of Business: (If applicable)                        Agent for Service: CT Corporation
                                                                                                                             Name of agent
                                                                                                                             2 1/2 Beacon Street
                                                                                                                            Address
                                                                                                                             Concord, NH 03301
                                                                                                                            City                   State       Zip code

                                        Type of Business/ 3rd Party: (If applicable)
                                         X Corporation                                                            El Trust
                                         El Limited Liability Company                                             0 Partnership
                                         El Sole Proprietorship                                                   0 Other
                                        The Plaintiff claims that the Defendant owes the Plaintiff $ 2,400.00
                                        Use this space to clearly state the business or other relationship between the plaintiff and defendant
                                        and how, when and where the claim arose:
                                        [See Attachment 'Claim Description'l




                                        Amount of Claim           $   2,400.00

                                                Filing Fee        $ 90.00
                                                Total             $   2,490.00

                                        0 Check here if this debt is from the extension of consumer credit and attach a Statement of
                                            Consumer Debt.
                                        0 Check here if this is a debt that was purchased from or assigned by a third party.
                                            Name of third party

                                                              *The maximum amount of a Small Claim action is $10,000.00
                                                           *Claims in excess of $5,000.00 are subject to mandatory mediation
                                                             *Claims over $1,500 entitle the defendant to request a jury trial
                                        Hans Hug, Jr                                                        /s/   /s/ Hans Hug, Jr                         8/18/22
                                        Name of Filer                                                             Signature of Filer                            Date
                                                                                                                  (617)513-2778
                                        Law Firm, if applicable                  Bar ID # of attorney             Telephone
                                        9 Myrtle Street                                                           hhug@apache1.net
                                        Address                                                                   E-mail
                                        Exeter, NH 03833
    666£I.LBO JeS timed we7line0o4In4




                                        City                                   State        Zip code


                                        Court Use Only:
                                        Return Date:         October 19, 2022
                                        This is the date by which the Defendant must file a response with the court or be defaulted. See
                                        separate Instructions to the Defendant.
                                                                  Clerk's Notice
                                                                  Document sent to parties
                                        NHJB-2370-De (06/04/2018) on 09/19/2022                         Page 2 of 2
                                            Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 8 of 10



                                                                                 Attachment Page                   (of 1
                                   To Small Claims Complaint

                                    Claim Description
                                    Plaintiff had "frozen" all consumer and credit files as provided for under
                                    N.H. State Freeze law (359-B:22) & Federal Freeze law (the Fair Credit
                                    Reporting Act/FCRA). Defendant LexisNexis wilfully and illegally removed the
                                    freeze from my file resulting in a data breach in November 2020. (8)
                                    Certified letters to LexisNexis have been ignored. Plaintiff will likely
                                    amend Complaint to reflect maximum damages allowed under the law. Plaintiff
                                    seeks $2,400.00 plus treble damages for Wilfull and illegal actions,
                                    Emotional Distress, Attorney Fees, Interest, Court Costs and time lost from
                                    employment to deal with them.
TurboCourt.com Form Set #7113999




                                   Ifthe item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are made under penalty of perjury.
                                                    Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 9 of 10                                                              Filed
                                                                                                                                                        File Date: 8/18/2022 6:17 PM
                                   For e-Filing only                                                                                    10th Circuit - District Division - Brentwood
                                                                                                                                                                   E-Filed Document
                                                                    THE STATE OF NEW HAMPSHIRE
                                                                                    JUDICIAL BRANCH
                                                                                   http://www.courts.state.nh.us


                                   Court Name:           10th Circuit - District Division - Brentwood

                                   Case Name:            Hans Hug, Jr v. LexisNexis Risk Solutions Inc.
                                                                               435-2022-SC-00325
                                   Case Number:
                                   (if known)

                                                                 CONFIDENTIAL INFORMATION SHEET FOR
                                                                     ELECTRONICALLY FILED CASES
                                   FOR USE WHEN: This Sheet is required to be filed with any document, or up to four(4)documents filed on the same date,from which
                                   confidential information has been omitted (left blank) pursuant to Rule 12(c)of the New Hampshire Circuit Court — Electronic Filing
                                   Pilot Rules. For further guidance, see Instructions for the Electronic Filing of Confidential Information.


                                   Date: 8/18/22
                                   Name of person filing this Confidential Information Sheet: Hans Hug, Jr


                                   Names of document(s)from which confidential information has been omitted:
                                   Small Claim Complaint
                                   Name of Document                                                      Name of Document


                                   Name of Document                                                      Name of Document


                                   A. Date of Birth — Dates of birth are required in some cases. Rule 12(c) requires you to include
                                      dates of birth of the parties on this sheet.
                                           Name     Hans Hug, Jr                                                      Date of birth    05/02/1954

                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
TurboCourt.com Form Sot #7113999




                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth
                                           Name                                                                       Date of birth


                                   NHJB-2878-DFPe (03/05/2015)                                  Page 1 of 2
                                                    Case 1:22-cv-00422-LM Document 1-1 Filed 10/18/22 Page 10 of 10
                                  Case Name: Hans Hug, Jr v. LexisNexis Risk Soluti
                                                                                 1TS-M22 SC-00325
                                  Case Number:
                                  CONFIDENTIAL INFORMATION SHEET FOR ELECTRONICALLY FILED CASES

                                  B. Other Rule 12(c) Confidential Information — Set forth any narrative/text including Rule 12(c)
                                     confidential information that has been omitted from the above named documents, clearly
                                     indicating the document name for each narrative/text provided.




                                  I state that on this date I am   e-serving through the court's electronic filing system, or      mailing by
                                  U.S. mail, or     hand-delivering a copy of this document to:
                                                                                             Or
                                  Other party                                                      Other party's attorney



                                  LI Check here if you are attaching additional pages which include Rule 12(c) confidential
                                  information. Note: Upload any additional pages as part of this form and NOT as a separate
                                  document. Select Confidential Information Sheet for Electronically Filed Cases as the name of
                                  form to be uploaded.

                                  The information contained in this pleading is true to the best of my knowledge and belief. I understand
                                  that making a false statement in this pleading may subject me to criminal penalties.

                                  Hans Hug, Jr                                                     /s/ Hans Hug. Jr             8/18/22
TurboCourtcom Form Sot #7113999




                                  Name                                                             Signature                              Date
                                                                                                  (617)513-2778
                                  Law Firm                         Bar ID # of attorney           Telephone
                                  9 Myrtle Street                                                  hhug@apache1.net
                                  Address                                                          E-mail
                                  Exeter, NH 03833
                                  City                     State              Zip code

                                  NHJB-2878-DFPe (03/05/2015)                             Page 2 of 2
